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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       STEITZ, Lynn Terri

Docket Number:                       1:02CR05356-001 OWW

Offender Address:                    Fresno, CA

Judicial Officer:                    Honorable Oliver W. Wanger
                                     United States District Judge
                                     Fresno, California

Original Sentence Date:              November 18, 2003

Original Offense:                    Conspiracy to Commit Theft of Mail Matter
                                     (CLASS D)

Original Sentence:                   6 months custody, 36 months supervised release

Special Conditions:                  1) Search; 2) Not dispose of assets; 3) Access to
                                     financial information; 4) No new credit; 5) Correctional
                                     treatment for drug and alcohol abuse; 6) Drug and
                                     alcohol testing; 7) Abstain from alcohol; 8) Mental
                                     health treatment; 9) Co-payment for treatment ($5.00
                                     per month)

Type of Supervision:                 Supervised release

Supervision Commenced:               June 17, 2004

Assistant U.S. Attorney:             Stanley A. Boone                Telephone: (559) 498-7272

Defense Attorney:                    Gary Huss (appointed)            Telephone: (559)224-2131




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Other Court Action:

August 23, 2004                    The Court was advised that the offender provided a
                                   positive drug test for amphetamine/methamphetamine
                                   use on July 26, 2005. No action was taken by the Court
                                   based on the probation officer's plan of action.



                               PETITIONING THE COURT

To modify the conditions of supervision as follows:

       The offender shall serve up to 90 days at Turning Point Fresno,
       Comprehensive Sanction Center or until discharged by the program director
       or probation officer. The offender shall comply with all program rules and
       procedures as directed by the probation officer, including but not limited to
       substance abuse treatment and payment of subsistence.

       The offender shall complete 30 days at WestCare Residential Drug Treatment
       program or until discharged by the program director or probation officer. the
       offender shall comply with all program rules and requirements.


Justification: The offender was released from the Bureau of Prisons on June 17, 2004.
Since her release, she has struggled to maintain stable housing, has not secured
employment and has only payed $10.00 towards her $100.00 special assessment and
$1882.42 restitution. The offender has additionally struggled to appear for random drug
testing and counseling sessions.

On October 19, 2005, the probation officer conducted a home contact with the offender.
During the contact, the offender failed to identify that she had a boyfriend staying with her



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at the residence (who was present in her bedroom), despite an inquiry by the undersigned
as to who was present in the home.

Upon contacting the individual and obtaining his information, a records check revealed that
he was a convicted felon with two outstanding warrants. It was also revealed by the
individual that he was released from an involuntary placement at University Medical
Center's (UMC) mental health unit on October 16, 2005. The offender was directed to
report to the office that afternoon to further discuss the matter.

At the time the offender was to report to the probation office on August 19, 2005, the
offender's daughter called to advise that the offender's boyfriend had gone into a rage and
that Fresno Police Department was called and he was returned to UMC's mental health
unit on another involuntary placement. The offender was shaken up over the matter to
drive and on one else in the residence had a valid driver's license. The offender was
instructed to report to the office on October 20, 2005.

On October 20, 2005, the offender reported to the office and was directed to have no
further contact with the individual or any other person with a felony conviction, without the
probation officer's permission. She was further admonished for lying about who was in the
residence. A urinalysis test was requested, as the offender failed to appear for random
testing.

The offender was unable to produce a sample after three hours of attempts and finally
admitted to using methamphetamine. The offender became ill during her time in the office
and she was directed to return on October 21, 2005.

On October 21, 2005, the offender voluntarily signed a Waiver of Hearing form to include
up to 90 days at Turning Point Fresno Comprehensive Sanction Center and a 30 day
placement at WestCare Residential Drug Treatment facility. She also voluntarily signed


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an admission statement to using methamphetamine on October 19, 2005, as well as,
stalling on her drug test.

The objective of this modification request is to provide the offender a final opportunity to
obtain help with her substance abuse problem and to comply with her conditions of
supervised release. She is aware that further non-compliance will result in an appearance
before the Court.




                                   Respectfully submitted,

                                    /s/ Philip Mizutani

                                    Philip Mizutani
                            United States Probation Officer
                              Telephone: (559) 498-7321


DATED:        October 26, 2005
              Fresno, California



REVIEWED BY:         /s/ Bruce Vasquez
                     Bruce Vasquez
                     Supervising United States Probation Officer




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THE COURT ORDERS:

( X ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

October 28, 2005                                /s/ OLIVER W. WANGER
Date                                               Signature of Judicial Officer

cc:   United States Probation
      Ë, Assistant United States Attorney
      Ë, Assistant Federal Defender
      Defendant
      Court File

Attachment:    Presentence Report (Sacramento only)




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